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                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION


GEORGE OLIVER, et al.,                            )         CASE NO. 5:18-cv-967
                                                  )
                                                  )
                       PLAINTIFFS,                )         JUDGE SARA LIOI
                                                  )
vs.                                               )
                                                  )         MEMORANDUM OPINION
ARS OHIO LLC, et al.,                             )
                                                  )
                                                  )
                      DEFENDANTS.                 )

        Before the Court are two motions: the motion of defendant Westlake Services, LLC

(“Westlake”) for partial dismissal (Doc. No. 6 [“Westlake Mot.”]), and the motion of defendant

ARS Ohio LLC (“ARS”) for partial judgment on the pleadings (Doc. No. 15 [“ARS Mot.”]). The

motions are opposed and fully briefed. (Doc. No. 13 [“Westlake Opp’n”]; Doc. No. 14

[“Westlake Reply”]; Doc. No. 17 [“ARS Opp’n”]; Doc. No. 19 [“ARS Reply”].) For the reasons

discussed herein, the motions are granted in part and denied in part.

      I. BACKGROUND

        All facts are taken from the allegations in the complaint, and, for the consideration of the

present motions, are presumed to be true. Plaintiffs, George and Maria Oliver, are the owners of

a 2008 dark blue Ford Edge. (Doc. No. 1-2 (Complaint [“Compl.”]) ¶ 16.) Plaintiffs financed the

vehicle through Friends and Family Credit Union. (Id.) At all times pertinent to this litigation,

plaintiffs were current with and not in default of their automobile loan. (Id. ¶ 32.)

        Westlake is a California limited liability company, doing business in Ohio, and “is in the

business of providing automobile financing.” (Id. ¶¶ 6, 12.) ARS is an Ohio limited liability
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company that is “in the automotive involuntary repossession business.” (Id. ¶¶ 5, 13.) It is

undisputed that plaintiffs “never had a contract with Westlake,” and “have never had any

association or business relationship with either Westlake or ARS.” (Id. ¶¶ 32, 33.)

         On March 30, 2017, Maria Oliver drove her Ford Edge to her place of employment in

Canton, Ohio and parked the vehicle in the parking lot. When she left work that evening, she

noticed that the vehicle was missing from the lot. Concerned, she immediately called the local

police department to report that her vehicle had been stolen. (Id. ¶ 17.) The police dispatcher

advised her that an investigation would be conducted. Twenty minutes later, a responding police

officer contacted Maria and advised her that the vehicle had been involuntarily repossessed by

ARS because the vehicle’s previous owner, Willy Perry, was delinquent on payments. 1 (Id. ¶¶

18, 19.)

         Over the next several days, George Oliver attempted to contact ARS but was unable to

speak with anyone about the repossession of the Ford Edge. (Id. ¶¶ 24, 25.) On April 3, 2017,

George Oliver visited the local police station and spoke with an officer who had spoken with an

ARS representative. The officer conveyed to Mr. Oliver that Westlake had directed ARS to

repossess the vehicle. (Id. ¶ 26; see id. ¶ 13.) Inasmuch as the vehicle had been improperly

repossessed, the officer instructed the ARS representative to make arrangements for plaintiffs to

recover their vehicle at a Ford dealership. (Id. ¶¶ 22, 26.) Upon retrieving the vehicle, plaintiffs

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  According to the complaint, plaintiffs “never had a contract with Westlake, let alone had a financing agreement
related to their vehicle go into default. Nonetheless, Westlake falsely labeled [p]laintiffs as being in a contractual
default, thus triggering the wrongful repossession of [p]laintiffs’ vehicle.” (Id. ¶ 33.)




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discovered that it had been damaged by ARS when it had been towed away from Maria Oliver’s

employer’s lot. (Id. ¶¶ 28-30.) As a result of improper towing, the vehicle sustained “damage to

the transmission, significant front-end damage, and other significant” damages. (Id. ¶ 31.)

       On March 27, 2018, plaintiffs brought suit in the Stark County Court of Common Pleas

against Westlake and ARS. Plaintiffs’ complaint raises the following causes of action against

defendants: violation of the Ohio Consumer Sales Practices Act (“OCSPA”); wrongful

repossession; conversion; negligence; trespass to chattels; violation of the Fair Debt Collection

Practices Act (“FDCPA”); bailment; and civil theft. On April 27, 2018, the defendants removed

the action to federal court on the basis of federal question jurisdiction. (Doc. No. 1 (Notice of

Removal) ¶ 3.)

   II. STANDARD OF REVIEW

       Westlake brings its motion under Rule 12(b)(6) of the Federal Rules of Civil Procedure,

and ARS relies on Rule 12(c). The standard of review for a motion for judgment on the pleadings

under Rule 12(c) is the same as for a motion to dismiss under Rule 12(b)(6). E.E.O.C. v. J.H.

Routh Packing Co., 246 F.3d 850, 851 (6th Cir. 2001) (citing Grindstaff v. Green, 133 F.3d 416,

421 (6th Cir. 1998)). A motion to dismiss under Rule 12(b)(6) tests the sufficiency of the

pleading. Davis H. Elliot Co., Inc. v. Caribbean Util. Co., Ltd., 513 F.2d 1176, 1182 (6th Cir.

1975). All allegations of fact by the non-moving party are accepted as true and construed in the

light most favorable to that party. See Grindstaff, 133 F.3d at 421 (citing Meador v. Cabinet for

Human Res., 902 F.2d 474, 475 (6th Cir. 1990)). The Court, however, “need not accept as true

legal conclusions or unwarranted factual inferences.” Mixon v. Ohio, 193 F.3d 389, 400 (6th Cir.

1999) (citing Morgan v. Church’s Fried Chicken, 829 F.2d 10, 12 (6th Cir. 1987)). Nor is the

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Court required to accept as true complaint allegations that are contradicted by public records and

other evidentiary materials of which the Court may take judicial notice. See Moody v.

CitiMortgage, Inc., 32 F. Supp. 3d 869, 874-75 (W.D. Mich. 2014) (“court may disregard

allegations in the complaint if contradicted by facts established by exhibits attached to the

complaint[]”); see also Williams v. CitiMortgage, Inc., 498 F. App’x 532, 536 (6th Cir. 2012)

(“if a factual assertion in the pleadings is inconsistent with a document attached for support, the

Court is to accept the facts as stated in the attached document[]”).

       The sufficiency of the pleading is tested against the notice pleading requirements of Fed.

R. Civ. P. 8(a)(2), which provides that a complaint must contain “a short and plain statement of

the claim showing that the pleader is entitled to relief[.]” Although this standard is liberal, “[t]o

survive a motion to dismiss, a complaint must contain sufficient factual matter, accepted as true,

to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678, 129

S. Ct. 1937, 173 L. Ed. 2d 868 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570,

127 S. Ct. 1955, 167 L. Ed. 2d 929 (2007)). A claim is facially plausible “when the plaintiff

pleads factual content that allows the court to draw the reasonable inference that the defendant is

liable for the misconduct alleged.” Id. (citing Twombly, 550 U.S. at 556). If the plaintiff has not

“nudged [his] claims across the line from conceivable to plausible, [the] complaint must be

dismissed.” Twombly, 550 U.S. at 570.

   III. DISCUSSION

       In their dispositive motions, defendants each seek dismissal of plaintiffs’ first (OCSPA),

sixth (FDCPA), and eighth (civil theft) causes of action.



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           A.       FDCPA Claim

           Because plaintiffs’ claim under the FDCPA, 15 U.S.C. § 1692 et seq., provides this Court

with jurisdiction, the Court begins with defendants’ arguments relative to this federal statute.

Specifically, ARS argues that plaintiffs cannot make out a claim under the FDCPA because they

do not meet the statutory definition of “consumer.” (ARS Mot. at 156.2) Westlake insists that

dismissal of plaintiffs’ federal claim is warranted because it is not a “debt collector” as defined

by the FDCPA. (Westlake Mot. at 76-77.) The Court takes each argument in turn.

           The FDCPA defines “consumer” as “any natural person obligated or allegedly obligated

to pay any debt.” 15 U.S.C. § 1692a(3). Because the complaint specifically provides that

plaintiffs never had any association or business relationship with either defendant, ARS argues

that plaintiffs cannot establish that they were ever obligated or allegedly obligated to pay any

debt to defendants. (ARS Mot. at 156-57.) While plaintiffs allege that they are “consumers”

under the FDCPA (see Compl. ¶ 8), ARS maintains that plaintiffs fail to support this legal

conclusion with factual allegations that would demonstrate that, as between themselves and

defendants, they are “consumers.”

           Such a conclusion, however, is not necessarily fatal to plaintiffs’ FDCPA claim. It is true

that relief under certain provisions of the FDCPA is only available to “consumers.” For example,

in Montgomery v. Huntington Bank, 346 F.3d 693, 696 (6th Cir. 2003), the plaintiff brought suit

under three sections of the FDCPA—§§ 1692c, 1692d, and 1692e. As to those three sections, the

court found that “relief is limited to ‘consumers’ . . . under § 1692c.” In reaching this conclusion,

the Court observed that “§ 1692c ‘appears to be the most restrictive of the FDCPA’s


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provisions.’” Id. (quoting Wright v. Fin. Serv. of Norwalk, Inc., 22 F.3d 647, 649 n.1 (6th Cir.

1994)). It reached a different conclusion as to the other sections. Noting that § 1692d explicitly

provided for relief for any person harassed or oppressed in the collection of a debt, and further

noting that § 1692e protected against any false or misleading methods of debt collection and that

§ 1692k(a) permits enforcement of that section by any person who is harmed by a debt collector,

the court concluded that these provisions collectively demonstrate that any aggrieved party may

bring suit under §§ 1692d and 1692e.3 Id. at 697.

         Relying on similar logic, including the inclusiveness of § 1692k(a), “many courts from

other circuits have held that standing under section 1692f is not limited to ‘consumers’ and

instead extends to anyone aggrieved by a debt collector’s unfair or unconscionable collection

practices.” Aviles v. Wayside Auto Body, Inc., 49 F. Supp. 3d 216, 228 (D. Conn. 2014)

(quotation marks omitted, collecting cases). In Aviles, one of the plaintiffs was the niece of the

debtor, who was present when a repossession agency used allegedly unconscionable tactics to

repossess the debtor’s vehicle. The court found that the niece had standing as an aggrieved

person to assert a claim under § 1692f, noting that such a conclusion “serves the aim of

eliminating unfair or unconscionable collection practices which may injure third parties.” Id. A

similar result is warranted here. A finding that plaintiffs have standing to bring a claim under §

1692f is consistent with both the language of the FDCPA and the stated goal of protecting third


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  Section 1692k(a) provides, in part, that “except as otherwise provided by this section, any debt collector who fails
to comply with any provision of this subsection with respect to any person is liable to such person[.]” 15 U.S.C. §
1692k(a) (emphasis added).




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parties from unconscionable debt collection practices.4

         Nevertheless, Westlake argues that, because it is not a “debt collector” under the

FDCPA—and was not engaged in debt collection practices—the FDCPA claim must still fail.

The FDCPA defines a “debtor collector” as “any person who uses any instrumentality of

interstate commerce . . . in any business the principal purpose of which is the collection of any

debts, or who regularly collects or attempts to collect . . . debts owed or due or asserted to be

owed or due another.” 15 U.S.C. § 1692a(6). Neither Westlake nor ARS are debt collectors

because Westlake was attempting to collect on its own debt. See Montgomery, 346 F.3d at 699

(noting that “Huntington Bank was an actual, original, consumer creditor of Montgomery’s

mother collecting its account, and, as such, was exempted from the statutory definition of a ‘debt

collector’”). Section 1692a(6)(F)(ii) contains an exception for creditors attempting to collect on

debts owed to them. Id. Likewise, those who are enlisted to assist in the enforcement of such a

security interest—such as repossession agencies like ARS—are also generally excluded from the

reaches of the FDCPA. See, e.g., id. (“As a repossession agency, Silver Shadow, likewise, does

not fall within the definition of a ‘debt collector.’”); see Jordan v. Kent Recovery Servs. Inc., 731

F. Supp. 652, 659-60 (D. Del. 1990) (finding that the repossessing of a car is not the action of a

debt collector and falls outside the protection of the FDCPA).


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  In its reply brief, ARS argues for the first time that the FDCPA claim should be dismissed against it because
plaintiffs allege that ARS was acting under instructions from Westlake. (ARS Reply at 178-80.) “The Sixth Circuit’s
longstanding rule is that issues raised for the first time in a reply brief are considered waived.” Dykes v. Marshall,
No. 1:14-CV-1167, 2016 WL 1059618, at *3 (W.D. Mich. Mar. 17, 2016) (citing Tranter v. Orick, 460 F. App'x
513, 515 (6th Cir. 2012); Scottsdale Ins. Co. v. Flowers, 513 F.3d 546, 553 (6th Cir. 2008)). The Court will not
consider this argument at this time but will permit ARS to revisit this issue on summary judgment, at which time
plaintiffs will have the opportunity to respond.




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        There is an exception to the general rule that repossession actions do not qualify for

protection under the FDCPA. Section 1692f(6) prohibits the following:

        Taking or threatening to take any nonjudicial action to effect dispossession or
        disablement of property if (A) there is no present right to possession of the
        property claimed as collateral through an enforceable security interest; (B) there is
        no present intention to take possession of the property; or (C) the property is
        exempt by law from such dispossession or disablement.

15 U.S.C. § 1692f(6). Pertinent to the present motions, § 1692f(6) provides for FDCPA

protection when the alleged repossession action is taken when there is no present right to

possession of the property. See also Montgomery, 346 F.3d at 700-01 (“except for purposes of §

1692f(6), an enforcer of a security interest, such as a repossession agency, does not meet the

statutory definition of a debt collector under the FDCPA”); Jordan, 731 F. Supp. at 659

(similar).

        Here, plaintiffs have alleged that they financed their vehicle through a third-party and that

they were current in their payments under their financing agreement. (Compl. ¶¶ 16, 32.) They

have further alleged that they never entered into a financing agreement with Westlake; that

Westlake “falsely labeled [p]laintiffs as being in contractual default, thus triggering the wrongful

repossession[;]” that plaintiffs have never had any business relationship or association with

defendants; and that, therefore, defendants did not “possess[] the legal right or authority to

repossess” the vehicle. (Id. ¶¶ 22, 32, 33.) The Court finds that these allegations adequately state

a claim for relief under § 1692f(6) because, taken together, they allege that defendants had no

present right to repossess the vehicle. See, e.g., Vantu v. Echo Recovery, LLC, 85 F. Supp. 3d

939, 944 (N.D. Ohio 2015) (noting that it was alleged that the security enforcer “had no right to

present possession of the collateral” because he breached the peace and finding that “its conduct

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(if true) violated the FDCPA”). While these allegations may not find support in discovery, and

defendants may also be entitled to affirmative defenses that ultimately defeat this claim, they are

sufficient at this stage in the proceedings.5 Accordingly, defendants’ motions, to the extent they

seek dismissal of plaintiffs’ FDCPA claim, are DENIED.

         B.       OCSPA Claim

         The OCSPA “provides a private cause of action, permitting consumers to seek relief

against suppliers who have violated the act.” Rose-Gulley v. Spitzer Akron, Inc., No. 21778, 2004

WL 1736982, at *3 (Ohio Ct. App. Aug. 4, 2004) (citing Ohio Rev. Code § 1345.09). The act

defines a “consumer” as “a person who engages in a consumer transaction with a supplier.” Ohio

Rev. Code § 1345.01(D). A “supplier” refers to “a seller, lessor, assignor, franchisor, or other

person engaged in the business of effecting or soliciting consumer transactions, whether or not

the person deals directly with the consumer.” § 1345.01(C). A “consumer transaction” means “a

sale, lease, assignment, award by chance, or other transfer of an item of goods, a service, a

franchise, or an intangible, to an individual for purposes that are primarily personal, family, or

household, or solicitation to supply any of these things.” § 1345.01(A). Defendants maintain that

plaintiffs’ OCSPA claim fails because none of these definitions applies to the parties here.

         The complaint is clear that plaintiffs did not engage in a commercial transaction with

defendants. “Ohio courts have . . . explicitly required that the consumer transaction occur

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  Plaintiffs also argue that they have set forth a claim under § 1692f(6) because they have alleged that defendants
“breached the peace” when they repossessed the Ford Edge. (Compl. ¶ 70.) Under Ohio law, “a security-interest
enforcer loses its right to present possession of the collateral if it breaches the peace.” Vantu, 85 F. Supp. 3d at 943
(citing Ohio Rev. Code § 1309.609(B)(2)). The complaint does not set forth any factual allegations to support the
legal conclusion that defendants breached the peace, and plaintiffs affirmatively assert that the vehicle was taken
from a parking lot without their knowledge. (See Compl. ¶ 17.) See, e.g., Leighty v. Am. Can Credit Union, No.
44496, 1982 WL 2574, at *5 (Ohio Ct. App. Dec. 9, 1982) (Plaintiff failed to sufficiently plead that the repossession
of his vehicle amounted to a breach of the peace, under Ohio Rev. Code § 1309.609(B)(2), because the allegations
demonstrated that he and his wife were “unaware that the car ha[d] been removed from their driveway[.]”)
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between the supplier and the consumer.” Riley v. Supervalu Holdings, Inc., No. C-050156, 2005

WL 3557399, at *3 (Ohio Ct. App. Dec. 30, 2005). For this reason, plaintiffs are not consumers

and there was no commercial transaction. See Hayes v. Asset Recovery Mgmt. Grp., Ltd., No.

3:10CV1098, 2011 WL 3566851, at *1 (N.D. Ohio Aug. 12, 2011) (“The only ‘transaction’

between the plaintiff and the defendants involved their efforts to collect debts she did not owe.

Such ‘transactions’ are outside the OCSPA.”), partially vacated to include ruling on common

law claims by 2011 WL 68177789 (N.D. Ohio Dec. 28, 2011); Rose-Gulley, 2004 WL 1736982,

at *3 (noting that a consumer seeking relief must have engaged in a consumer transaction with a

supplier, the court held that the plaintiff “ha[d] failed to present any evidence suggesting that she

was engaged in a consumer transaction with [defendant] with respect to the vehicle at issue in

this case”); see also Wallace v. Sunstar Acceptance Corp., Nos. C-990390, C-990424, 2000 WL

569565, at *3 (Ohio Ct. App. May 12, 2000) (finding the OCSPA inapplicable to action

challenging the repossession of a vehicle). Defendants’ motions, to the extent they seek the

dismissal of plaintiffs’ OCSPA claim, are GRANTED.

        C.      Civil Theft Claim

        Both defendants also argue that plaintiffs’ civil theft claim is fatally flawed.6 The Court

agrees. Ohio Rev. Code § 2913.43(A) provides that “[n]o person, by deception, shall cause

another to execute any writing that disposes of or encumbers property, or by which a pecuniary

obligation is incurred.” Ohio Rev. Code § 2307.60(A)(1) provides for damages for “[a]nyone

injured in person or property by criminal acts[.]” However, beyond the conclusory allegations


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 The complaint also purports to raise a common law claim of conversion. (Compl. ¶¶ 52-57.) The Court makes no
determination as to the viability of that claim.


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that defendants committed “theft crimes” under Ohio Rev. Code § 2913.43, the complaint fails to

allege any facts that would support a claim under this statute for civil damages. (See Compl. ¶

83.) There are no allegations that either defendant caused plaintiffs to execute a writing that

disposes of or encumbers their vehicle. Moreover, the complaint specifically provides that the

Ford Edge was eventually returned to plaintiffs upon discovery that the vehicle was no longer

owned by Willy Perry. (Compl. ¶¶ 26-27.) Defendants’ motions, to the extent they seek

dismissal of the civil theft claim, are GRANTED. For the same reasons, plaintiffs’ request for

damages resulting from defendants’ alleged “theft crimes” under Ohio Rev. Code § 2307.60 is

DENIED. (See id. ¶ 85.)

   IV. CONCLUSION

       For the foregoing reasons, Westlake’s motion to dismiss and ARS’ motion for partial

judgment on the pleadings are DENIED as to plaintiffs’ FDCPA claim (Count IV) and

GRANTED as to plaintiffs’ OCSPA and civil theft claims (Counts I and VIII). Plaintiffs’

OCSPA and civil theft claims are DISMISSED with prejudice.

       IT IS SO ORDERED.



Dated: January 28, 2019
                                            HONORABLE SARA LIOI
                                            UNITED STATES DISTRICT JUDGE




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